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                Exhibit B
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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 JONATHAN ALTER, KAI BIRD, TAYLOR                           ECF CASE
 BRANCH, RICH COHEN, EUGENE LINDEN,
 DANIEL OKRENT, JULIAN SANCTON,                             Civil Action No. ________1:23-cv-
 HAMPTON SIDES, STACY SCHIFF, JAMES                         10211-SHS
 SHAPIRO, JIA TOLENTINO, and SIMON
 WINCHESTER, on behalf of himselfthemselves
 and all others similarly situated                          FIRST AMENDED CLASS
                                                            ACTION COMPLAINT
                        PlaintiffPlaintiffs,

                           v.                               JURY TRIAL DEMANDED
 OPENAI, INC., OPENAI GP, LLC, OPENAI,
 LLC, OPENAI OPCO LLC, OPENAI GLOBAL
 LLC, OAI CORPORATION, LLC, OPENAI
 HOLDINGS, LLC, and MICROSOFT
 CORPORATION,

                        Defendants.

       PlaintiffPlaintiffs Jonathan Alter, Kai Bird, Taylor Branch, Rich Cohen, Eugene Linden,

Daniel Okrent, Julian Sancton, Hampton Sides, Stacy Schiff, James Shapiro, Jia Tolentino, and

Simon Winchester, on behalf of himselfthemselves and all other similarly situated (the “Class,” as

defined below), for histheir complaint against Defendants OpenAI, Inc., OpenAI GP LLC,

OpenAI, LLC, OpenAI OpCo LLC, OpenAI Global LLC, OAI Corporation, LLC, OpenAI

Holdings, LLC, (collectively “OpenAI”) and Microsoft Corporation (all collectively

“Defendants”), alleges as follows:

                                      NATURE OF THE ACTION

       1.      OpenAI and Microsoft have built a business valued into the tens of billions of

dollars by taking the combined works of humanity without permission. Rather than pay for

intellectual property, they pretend as if the laws protecting copyright do not exist. Yet the United

States Constitution itself protects the fundamental principle that creators deserve compensation for

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their works. Nonfiction authors often spend years conceiving, researching, and writing their

creations. While OpenAI and Microsoft refuse to pay nonfiction authors, their AI platform is worth

a fortune. The basis of the OpenAI platform is nothing less than the rampant theft of copyrighted

works.

         2.    Plaintiff Julian Sancton is a writer and the author of the New York Times best-seller

Madhouse at the End of the Earth: the Belgica’s Journey into the Dark Antarctic Night, a book

documenting the true story of an Antarctic polar expedition at the end of the nineteenth century.

Plaintiff Sancton dedicated five years of his life and tens of thousands of dollars to completing the

book, traveling around the world to Antarctica, Belgium, and Norway to complete his

researchPlaintiffs are writers who, collectively, have won three Pulitzer Prizes and authored more

than 30 New York Times bestsellers. They have dedicated decades of their lives and substantial

sums to researching, honing, writing, and perfecting their works. Such an investment of time and

money is feasible for Plaintiff SanctonPlaintiffs and other writers because, in exchange for their

creative effortswork, the Copyright Act grants them “a bundle of exclusive rights” in their works,

including “the rights to reproduce the copyrighted work[s].” Andy Warhol Found. for the Visual

Arts, Inc. v. Goldsmith, 598 U.S. 508, 526 (2023).

         3.    This case is about Defendants OpenAI and Microsoft’s complete disregard for those

exclusive rights. Defendants have made commercial reproductions of millions, maybepossibly

billions, of copyrighted works without any compensation to authors, without a license, and without

permission. In doing so, they have infringed on the exclusive rights of Plaintiff SanctonPlaintiffs

and other writers and rightsholders whose work has been copied and appropriated to train their

artificial intelligence models.

         4.    Defendants OpenAI and Microsoft collaborated closely to create and monetize the



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generative artificial intelligence models known as GPT-3, GPT-3.5, GPT-4, and GPT-4 Turbo.

These are the computer models that power the popular ChatGPT chatbot, which Defendants have

followed with a suite of other commercial offerings, like ChatGPT Enterprise, ChatGPT Plus, Bing

Chat, Browse with Bing, Microsoft Copilot, and others. Defendants’ GPT models have been

designed to recognize and process text inputs from a user and, in response, generate text that has

been calibrated to mimic a human written response.

        5.       That end product—a computer model and chatbot built to mimic human written

expression—came at a price. Defendants’ models were calibrated (or “trained,” in Defendants’

parlance) by reproducing a massive corpus of copyrighted material, including, upon information

and belief, tens or hundreds of thousands of nonfiction books. The only way that Defendants’

models could be trained to generate text output that resembles human expression is to copy and

analyze a large, diverse corpus of text written by humans. In training their models, Defendants

reproduced copyrighted materialtexts to exploit precisely what the Copyright Act was designed to

protect: the elements of protectible expression within them, like the style, word choice, andchoice

and order of words and sentences, syntax, flow, themes, and paragraph and story structure, as well

as the arrangement and presentationorganization of facts. In OpenAI’s words, the goal of the

training process was to teach their model to “learn” “how words fit together grammatically,” “how

words work together to form higher-level ideas,” and “how sequences of words form structured

thoughts.” 1 In other words, by training its models on certain works, OpenAI copied the works’

expression so that the models could memorize, mimic, and paraphrase that expression.

        6.       Defendants copied and data-mined the works of writers, without permission or

compensation, to build a machine that is capable (or, as technology advances, will soon be capable)


1
 Fred von Lohmann, response to Notice of Inquiry and Request for Comment 5, (Oct. 30, 2023), available at
https://downloads.regulations.gov/COLC-2023-0006-8906/attachment_1.pdf.

                                                       3
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of performing the same type of work for which these writers would be paid. Without the wide

corpus of copyrighted material on which to feed off of, there would be no ChatGPT. Defendants’

commercial success was possible only because they copied and digested the protected,

copyrightable expression contained in billions of pages of actual text, across millions of

copyrighted works—all without paying a penny to authors and rightsholders.

        7.      Defendants OpenAI and Microsoft have enjoyed enormous financial gain from

their exploitation of copyrighted material. OpenAI recently reported that it is “generating revenue

at a pace of $1.3 billion a year.” 2 Microsoft, for its part, has seen its investment in OpenAI increase

many-fold and its own GPT-based products, like BingChat, succeed in the marketplace. And its

stock price has increased as Microsoft has touted its ability to exploit and leverage AI across its

products. Analysts project that the integration of GPT into Microsoft products could generate more

than $10 billion in annualized revenue by 2026, 3 with just one version of this integration—

“GitHub Copilot”—already generating more than $100 million in annual recurring revenue. 4 In

developing and monetizing these AI products, Microsoft and OpenAI have been close partners

every step of the way, from the training of GPT-3 to today. The OpenAI-Microsoft relationship is

so close, in fact, that OpenAI’s former CEO Sam Altman and former Chief Scientist Greg

Brockman just left the company to lead a new artificial intelligence research team at Microsoft.

        8.      OpenAI and Microsoft’s commercial gain has come at the expense of creators and

rightsholders like PlaintiffPlaintiffs and members of the Class. A person who reads a book


2
  AJ Hess, The Biggest Challenges Facing OpenAI’s Mira Murati, the Newly Minted Most Powerful Woman in
Tech, FAST COMPANY (last visited Nov. 20, 2023), https://www.fastcompany.com/90985829/the-biggest-challenges-
facing-openais-mira-murati-the-newly-minted-most-powerful-woman-in-tech.
3
  Jordan Novet, Microsoft Starts Selling AI Toll for Office, Which Could Generate $10 Billion a Year by 2026,
CNBC (last visited NOV. 20, 2023) https://www.cnbc.com/2023/11/01/microsoft-365-copilot-becomes-generally-
available.html.
4
  Aaron Holmes, Microsoft’s GitHub AI Coding Assistant Exceeds $100 Million in Recurring Revenue, THE
INFORMATION, (last visited Nov. 20, 2023), https://www.theinformation.com/briefings/microsoft-github-copilot-
revenue-100-million-ARR-ai (available at https://perma.cc/5S7F-4GBY).

                                                     4
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typically buys it from a store. But Defendants did not even do that. Neither OpenAI nor Microsoft

have paid for the books used to train their models. Nor have Defendants sought to obtain—or pay

for—a license to copy and exploit the protected expression contained in the copyrighted works

used to train their models. Instead, Defendants took these works; they made unlicensed copies of

them; and they used those unlicensed copies to digest and analyze the copyrighted expression in

them, all for commercial gain. The end result is a computer model that is not only built on the work

of thousands of creators and authors, but also built to generate a wide range of expression—from

shortform articles to book chapters—that mimics the syntax, stylevoice, and themes of the

copyrighted works on which it was trained.

        9.      PlaintiffPlaintiffs, on behalf of himselfthemselves and the proposed Class, seeks

damages from Defendants for their largescale infringement of their copyrighted works, as well as

injunctive relief.

                                    JURISDICTION AND VENUE

        10.     The Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338(a)

because this action arises under the Copyright Act of 1976, 17 U.S.C. § 101, et seq.

        11.     The Court also has personal jurisdiction over Defendants because they have

purposely availed themselves of the privilege of conducting business in New York.

        12.     OpenAI and Microsoft’s copyright infringement and contributory copyright

infringement, in substantial part, occurred in this District. OpenAI sold and distributed, and

continues to sell and distribute, its GPT products, including ChatGPT, ChatGPT Enterprise,

ChatGPT Plus, Browse with Bing, and application programming interface tools (API) within New

York and to New York residents. OpenAI marketed and sold GPT-based products to New York

residents and New York-based companies.

        13.     Microsoft distributed and sold GPT-based products, like Bing Chat and Azure

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products that incorporate GPT-3 and GPT-4. Upon information and belief, Microsoft also assisted

OpenAI’s copyright infringement from New York, including from Azure datacenters located in

New York used to facilitate OpenAI’s use and exploitation of the training dataset used for

development of OpenAI’s GPT models. Microsoft maintains offices and employs personnel in

New York. Upon information and belief, Microsoft’s New York personnel were involved in the

creation and maintenance of the supercomputing systems that powered OpenAI’s widespread

infringement, as well as in the commercialization and monetization of OpenAI’s GPT models.

       14.     Plaintiff JulianPlaintiffs Bird, Linden, Okrent, Sancton is a citizen, Schiff, Shapiro,

Tolentino, and Winchester are citizens of New York, and resides within this District. The injuries

alleged here from Defendants’ infringement occurred in this District.

       15.     Venue is proper under 28 U.S.C. § 1400(a) because Defendants or their agents

reside or may be found in this District due to their infringing activities, along with their

commercialization of their infringing activities, that occurred in this District. Venue is also proper

under 28 U.S.C. § 1391(b)(2) because a substantial part of the events giving rise to

Plaintiff’sPlaintiffs’ claims occurred in this District, including the sales of Defendants’ GPT-based

products within this District.

                                              THE PARTIES

       16.     Plaintiff Jonathan Alter is a writer who resides in New Jersey. He is the author of a

number of New York Times bestsellers, including The Center Holds: Obama and His Enemies; The

Promise: President Obama, Year One; and The Defining Moment: FDR’s Hundred Days and the

Triumph of Hope. He is a former senior editor at Newsweek and a political analyst for NBC News

and MSNBC.

       17.     Plaintiff Kai Bird is a writer who resides in New York. He is the recipient of the

2006 Pulitzer Prize in Biography for American Prometheus: The Triumph and Tragedy of J. Robert

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Oppenheimer, which he co-authored with Martin J. Sherwin. He is also the author of the New York

Times bestseller The Good Spy: The Life and Death of Robert Ames.

       18.     Plaintiff Taylor Branch is a writer who resides in Maryland. He is the author of,

among other works, America in the King Years, a three-volume history of Martin Luther King Jr.

and the Civil Rights Movement. He received the 1989 Pulitzer Prize in History for the first volume

in the series, Parting the Waters: America in the King Years, 1954-63.

       19.     Plaintiff Rich Cohen is a writer who resides in Connecticut. He is the author of

several New York Times bestsellers, including Tough Jews: Fathers, Sons and Gangster Dreams;

Sweet and Low: A Family Story; and The Sun & the Moon & the Rolling Stones. He is a

contributing editor for Vanity Fair and Rolling Stone and a columnist for The Wall Street Journal.

       20.     Plaintiff Eugene Linden is a writer who resides in New York. He is the author of

nine nonfiction books, including The Parrot’s Lament, and Other True Tales of Animal Intrigue,

Intelligence, and Ingenuity; The Octopus and the Orangutan: More True Tales of Animal Intrigue,

Intelligence, and Ingenuity; The Alms Race: The Impact of American Voluntary Aid Abroad; and

Winds of Change.

       21.     Plaintiff Daniel Okrent is a writer who resides in New York. He is the author of a

number of nonfiction books, including Nine Innings: The Anatomy of Baseball as Seen Through

the Playing of a Single Game and The Way We Were: New England Then, New England Now. He

is also the co-author of Baseball Anecdotes with Steve Wulf.

       22.     16. Plaintiff Julian Sancton is a writer who resides in New York. He is the author

of the New York Times bestseller Madhouse at the End of the Earth: The Belgica’s Journey Into

the Dark Antarctic Night. He is a senior features editor of The Hollywood Reporter and his work

has appeared in GQ, Wired, and The New Yorker. Mr. Sancton owns the registered copyright in



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Madhouse at the End of the Earth, register number TX0009331888.

       23.     Plaintiff Hampton Sides is a writer who resides in New Mexico. He is the author of

a number of New York Times bestsellers, including Ghost Soldiers: The Epic Account of World

War II’s Greatest Rescue Mission and Blood and Thunder: An Epic of the American West. He is

an editor-at-large for Outside and is a frequent contributor to National Geographic.

       24.     Plaintiff Stacy Schiff is a writer who resides in New York. She is the recipient of

the 2000 Pulitzer Prize in Biography for Véra (Mrs. Vladimir Nabokov). Plaintiff Schiff is also the

author of the New York Times bestsellers Cleopatra: A Life; The Witches: Salem, 1692; and The

Revolutionary: Samuel Adams. Her work has appeared in The New Yorker, The New York Review

of Books, and The New York Times.

       25.     Plaintiff James Shapiro is a writer who resides in New York. He is the author of a

number of nonfiction books, including Oberammergau: The Troubling Story of the World’s Most

Famous Passion Play and 1599: A Year in the Life of William Shakespeare. He is the Larry Miller

Professor of English and Comparative Literature at Columbia University.

       26.     Plaintiff Jia Tolentino is a writer who resides in New York. She is the author of the

New York Times bestseller Trick Mirror: Reflections on Self-Delusion. She is a staff writer for The

New Yorker whose work has also appeared in The New York Times Magazine and Pitchfork.

       27.     Plaintiff Simon Winchester OBE is a writer who resides in New York. He is the

author of several New York Times bestsellers, including The Professor and the Madman; The Map

That Changed the World: William Smith and the Birth of Modern Geology; and The Men Who

United the States: America's Explorers, Inventors, Eccentrics, and Mavericks, and the Creation of

One Nation, Indivisible.

       28.     The registration information for the infringed works of Plaintiffs is identified in



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Exhibit A to this Complaint.

       29.    17. Defendant OpenAI, Inc. is a Delaware nonprofit corporation with a principal

place of business in San Francisco, California. OpenAI, Inc. was formed in December 2015.

OpenAI, Inc. owns and controls all other OpenAI entities.

       30.    18. Defendant OpenAI GP, LLC is a Delaware limited liability company with a

principal place of business in San Francisco, California. OpenAI GP, LLC wholly owns and

controls OpenAI OpCo LLC, which until recently was known as OpenAI LP. OpenAI, Inc. uses

OpenAI GP LLC to control OpenAI OpCo LLC and OpenAI Global, LLC. OpenAI GP LLC was

involved in the copyright infringement alleged here through its direction and control of OpenAI

OpCo LLC and OpenAI Global LLC.

       31.    19. Defendant OpenAI OpCo LLC is a Delaware limited liability company with a

principal place of business in San Francisco, California. OpenAI OpCo LLC was formerly known

as OpenAI LP. OpenAI OpCo LLC is the sole member of OpenAI, LLC, and has been directly

involved in OpenAI’s mass infringement and has directed this infringement through its control of

OpenAI, LLC. OpenAI OpCo LLC serves as the for-profit arm of OpenAI.

       32.    20. Defendant OpenAI, LLC is a Delaware limited liability company with a

principal place of business in San Francisco, California. OpenAI, LLC was formed in September

2020. OpenAI LLC monetizes and distributes OpenAI’s GPT-based products, all of which born

out of OpenAI’s copyright infringement. Upon information and belief, OpenAI, LLC is owned

and controlled by both OpenAI, Inc. and Microsoft Corporation, through OpenAI Global LLC and

OpenAI OpCo LLC.

       33.    21. Defendant OpenAI Global LLC is a Delaware limited liability company with a

principal place of business in San Francisco, California. Microsoft Corporation has a minority



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stake in OpenAI Global LLC and OpenAI, Inc. has a majority stake in OpenAI Global LLC,

indirectly through OpenAI Holdings LLC and OAI Corporation, LLC. OpenAI Global LLC was

involved in the copyright infringement alleged here through its ownership, control, and direction

of OpenAI LLC.

       34.    22. Defendant OAI Corporation, LLC is a Delaware limited liability company with

a principal place of business in San Francisco, California. OAI Corporation, LLC’s sole member

is OpenAI Holdings, LLC. OAI Corporation, LLC was and is involved in the unlawful conduct

alleged herein through its ownership, control, and direction of OpenAI Global LLC and OpenAI

LLC.

       35.    23. Defendant OpenAI Holdings, LLC is a Delaware limited liability company,

whose sole members are OpenAI, Inc. and Aestas, LLC. The sole member of Aestas, LLC is Aestas

Management Company, LLC. Aestas Management Company, LLC is a Delaware company created

to facilitate a half-billion-dollar capital raise for OpenAI. OpenAI Holdings LLC was involved in

the infringement alleged herein through its indirect ownership, control, and direction of OpenAI

OpCo LLC.

       36.    24. Microsoft Corporation is a Washington corporation with a principal place of

business and headquarters in Redmond, Washington. Microsoft has invested at least $13 billion in

OpenAI, and reportedly owns a 49% stake in the company’s for-profit operations. Microsoft has

described its relationship with the OpenAI Defendants as a “partnership.” This Microsoft-OpenAI

partnership has included the creation, development, and maintenance of the supercomputing

systems that the OpenAI Defendants used to house and make copies of copyrighted material in the

training set for OpenAI’s large language models. In course of designing and maintaining these

tailored supercomputing systems for OpenAI’s needs, upon information and belief, Microsoft was



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both directly involved in making reproductions of copyrighted material and facilitated the

copyright infringement committed by OpenAI.

                                      FACTUAL ALLEGATIONS

I.     OpenAI’s History and Collaboration With Microsoft to Build Commercial Large
       Language Models

A.     OpenAI’s Early Years and Shift To For-Profit Status

       37.     25. OpenAI was formed in December 2015 with $1 billion in investments.

       38.     26. At the outset, OpenAI described itself as a “non-profit artificial intelligence

research company.” OpenAI assured the public that its research and work was drivedriven purely

by altruism. In a December 11, 2015 blog post, co-founders Greg Brockman and Ilya Sutskever

wrote: “Our goal is to advance digital intelligence in the way that is most likely to benefit humanity

as a whole, unconstrained by a need to generate financial return. Since our research is free from

financial obligations, we can better focus on a positive human impact.”

       39.     27. OpenAI also made a commitment to keep its research and development open

for the public to enjoy and benefit from. In particular, OpenAI promised that both its work and

intellectual property would be open and available to the public and “shared with the world.”

       40.     28. Both commitments were short-lived. By March 2019, OpenAI created a for-

profit arm, OpenAI LP, which was formed to manage OpenAI’s commercial operations—

including, critically, product development. OpenAI LP has since been renamed OpenAI OpCo

LLC.

       41.     29. In the months and years that followed, OpenAI morphed into a complex (and

secretive) labyrinth of for-profit corporate entities to manage OpenAI’s day-to-day operations,

product development, for-profit research, and billion-dollar capital raises. Today, OpenAI is

valued at $2980 billion, collecting revenues north of $100 million per month.


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        42.     30. OpenAI has also abandoned its commitment to openness. Shortly after its

formation, OpenAI kept the public informed of its research and data sets. For example, both GPT-

1 and GPT-2 were released on a largely open-source basis, with substantial documentation of their

dataset and methodology.

        43.     31. But after OpenAI formed a for-profit entity and accepted billion-dollar

investments from Microsoft and others, that changed. Beginning with GPT-3, which was leaps and

bounds more sophisticated than GPT-1 and GPT-2, OpenAI disclosed far less information about

the technical details of the model and how it was trained. And it released even less information

when it announced the releases of GPT-4 in 2023. For example, the GPT-4 “technical report” said:

“this report contains no further details about the architecture (including model size), hardware,

training compute, dataset construction, training method, or similar.” 5

        44.     32. Why this sudden secrecy? The motivations are entirely commercial. According

to OpenAI’s Chief Scientist Sutskever: “It’s competitive out there.” 6

        45.     33. Upon information and belief, OpenAI had another reason to keep its training

data and development of GPT-3, GPT-3.5, and GPT-4 secret: To keep rightsholders like

PlaintiffPlaintiffs and members of the Class in the dark about whether their works were being

infringed and used to train OpenAI’s models. It also appears that OpenAI havehas made it more

difficult to determine whether any particular book is in their training set—sacrificing rights-

holders for the sake of covering up its actions.

B.      The Development of GPT-3 and Subsequent Commercialization of GPT-based
        Products



5
 OpenAI, GPT-4 Technical Report 2 (March 27, 2023), https://cdn.openai.com/papers/gpt-4.pdf.
6
 James Vincent, OpenAI Co-founder on Company’s Past Approach to Openly Sharing Research: ‘We Were Wrong’
THE VERGE (last visited Nov. 20, 2023), https://www.theverge.com/2023/3/15/23640180/openai-gpt-4-launch-
closed-research-ilya-sutskever-interview.

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        46.     34. OpenAI announced its completion of GPT-3 in May of 2020. In its technical

report describing GPT-3, OpenAI previewed that GPT-3 was a far more complex, sophisticated

large language model than any that preceded it. The technical paper described GPT-3 as a

“language model with 175 billion parameters, 10x more than any previous non-sparse language

model.” It went on to on to confirm that “GPT-3 achieves strong performance on many NLP

[natural language processing] datasets, including translation, question-answering, and cloze tasks,

as well as several tasks that require on-the-fly reasoning or domain adaption.”

        47.     35. OpenAI’s GPT-3 paper also acknowledged that GPT-3 was able to generate

text material that successfully mimicked some of the nonfiction copyrighted works on which it

was trained. For example, GPT-3 was able to “generate samples of news articles which human

evaluators have difficulty distinguishing from articles written by humans.”

        48.     36. Upon the release of the GPT-3 technical paper and a limited beta release, GPT-

3 made a splash among the engineering and artificial intelligence community. In July 2020, the

MIT Technology Review reported that “OpenAI’s new language generator GPT-3 is shockingly

good” and quoted one developer as saying that “GPT-3 feels like seeing the future.” 7 Nevertheless,

OpenAI’s GPT-3 remained largely obscure to the public for another two years.

        49.     37. In November 2022, OpenAI released ChatGPT, a generative AI chatbot

powered by the newly released GPT-3.5. As OpenAI described it at the time, ChatGPT is “an AI-

powered chatbot developed by OpenAI, based on the GPT (Generative Pretrained Transformer)

language model. It uses deep learning techniques to generate human-like responses to text inputs

in a conversational manner.” ChatGPT was released free to the public.



7
 Will Douglas Heaven, Open AI’s New Language Gnererator GPT-3 is Shockingly Good—and Completely
Mindless, MIT TECHNOLOGY REVIEW, (last accessed Nov. 20, 2023),
https://www.technologyreview.com/2020/07/20/1005454/openai-machine-learning-language-generator-gpt-3-nlp/.

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          50.   38. ChatGPT gained over 100 million users within three months, becoming the

fastest growing internet service of all time. 8

          51.   39. Building on ChatGPT’s success, OpenAI now offers a range of services

powered by its GPT models. Along with ChatGPT, which is free to use, OpenAI sells the

subscription service ChatGPT Plus at $20 per month, and ChatGPT Enterprise, a subscription

service aimed at business. OpenAI offers ChatGPT API tools that allow software developers to

create new applications building on ChatGPT. OpenAI licenses its technology to corporate clients

for licensing fees.

          52.   40. Both ChatGPT and OpenAI’s commercial offerings have been widely adopted.

OpenAI reports, from its internal user statistics, that over 90 percent of Fortune 500 companies are

using ChatGPT. OpenAI has also reported that it expects to reach $1 billion in revenue in less than

a year.

          53.   41. Credit for OpenAI’s success can be attributed to its largescale copyright

infringement. ChatGPT’s popularity is driven by its ability to produce believable natural language

text that mimics what a human would create. As CNBC reported shortly after ChatGPT’s release:

“What makes ChatGPT so impressive is its ability to produce human-like responses, thanks in no

small part to the vast amount of data it is trained on.” 9

          54.   42. That data, as explained in more detail below, consists largely of copyrighted

material. Since its release, the internet has been flooded with guides on how to use ChatGPT to




8
  Will Douglass Heaven, ChatGPT is Everywhere. Here’s Where it Came From, MIT TECHNOLOGY REVIEW, (last
visited Nov. 20, 2023) https://www.technologyreview.com/2023/02/08/1068068/chatgpt-is-everywhere-heres-
where-it-came-from/.
9
  Ryan Brown, All You Need To Know About ChatGPT, the A.I. Chatbot That’s Got the World Talking and Tech
Giants Clashing, CNBC Online (last visited Nov. 20, 2023), http://tiny.cc/luyevz.

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write academic papers, grant proposals, novels, nonfiction books, and other pieces. 10 ChatGPT

could only be trained to generate this range of text and styleexpression by making unlicensed

reproductions of a massive corpus of copyrighted content, including Plaintiff’s workPlaintiffs’

works and works owned by the Class. Without this largescale infringement—without a large

corpus of copyrighted material from which to mine expression—Defendants’ GPT models could

not have been trained to perform their intended function, that is, to mimic human written

expression.

C.      The Microsoft-OpenAI Partnership

        55.      43. Microsoft, for the last four years, has been deeply involved in the training,

development, and commercialization of OpenAI’s GPT products. Microsoft CEO Satya Nadella

has called its relationship with OpenAI a “great commercial partnership.”

        56.      44. Given the volume of the training corpus—the equivalent of nearly four billion

pages of single-spaced text—and the complexity of OpenAI’s large language models, OpenAI

required a specialized supercomputing system to train GPT-3, GPT-3.5, orand GPT-4 (and thus

copy and exploit the copyrighted material in its training set). That is where Microsoft came in.

Microsoft’s Azure provided the cloud computing systems that powered the training process, and

continues to power OpenAI’s operations to this day. Microsoft and OpenAI worked together to

design this system, which was used to train all of OpenAI’s GPT models. Without these bespoke

computing systems, OpenAI would not have been able to execute and profit from the mass

copyright infringement alleged herein.

        57.      45. Microsoft has in public statements acknowledged its intimate involvement in


10
  See, e.g., Rob Cubbon, How I Wrote My New Book With ChatGPT, (last accessed Nov. 20, 2023),
https://robcubbon.com/how-i-wrote-my-new-book-with-chatgpt/; Aaron Stark, How to Use ChatGPT to Write Non-
Fiction Books, (last visited Nov. 20, 2023), https://www.griproom.com/fun/how-to-use-chatgpt-to-write-non-fiction-
books.

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the development of OpenAI’s GPT models. In a 2020 press release, Microsoft announced that it

had built a bespoke supercomputing infrastructure “in collaboration and exclusively for OpenAI,”

“designed specifically to train that company’s AI models. It represents a key milestone in a

partnership announced last year to jointly create new supercomputing technologies in Azure.” The

press release went on to describe the computer “developed for OpenAI” as “top five” in the

“world,” and “a single system with more than 285,000 CPU cores, 10,000 GPUs and 4,000 gigabits

per second of network connectivity for each GPU server.”

       58.     46. After the release of ChatGPT, Microsoft also took credit for its substantial role

in the training process. In a February 2023 interview with Fortt Knox on CNBC, Mr. Nadella said

that “beneath what OpenAI is putting out as large language models, remember, the heavy lifting

was done by the Azure team to build the compute infrastructure.” A few months later, in his

keynote speech at the Microsoft Inspire conference, Mr. Nadella acknowledged that Microsoft

“buil[t] the infrastructure to train [OpenAI’s] models.”

       59.     47. Upon information and belief, that “heavy lifting” involved developing,

maintaining, troubleshooting, and supporting OpenAI’s supercomputing system. Microsoft

employees worked closely with OpenAI personnel to understand the training process and training

dataset used for OpenAI’s GPT models.

       60.     48. Through that process, Microsoft would have known that OpenAI’s training data

was scraped indiscriminately from the internet and included a massive quantity of pirated and

copyrighted material, including a trove of copyrighted nonfiction works. Through its creation and

maintenance of the supercomputing system, Microsoft directly made unlicensed copies and

provided critical assistance to OpenAI in making unlicensed copies of copyrighted material—

including Plaintiff Sancton’s work Madhouse at the End of the EarthPlaintiffs’ works and other



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nonfiction books—for the purpose of training the GPT models.

        61.      49. The large-scale copyright infringement was right in the open forwould have

been obvious to OpenAI and its business partners. Microsoft also became aware of OpenAI’s

largescale copyright infringement in the course of conducting the due diligence required before

makingfor its multibillion-dollar investments in OpenAI. As Andreesen Horowitz, another

OpenAI investor, put it: “the only practical way generative AI models can exist is if they can be

trained on an almost unimaginably massive amount of content, much of which . . . will be subject

to copyright.” 11 As the public company made its decision to invest $13 billion into OpenAI, surely

Microsoft—like Andreesen Horowitz—was fully aware that OpenAI was taking a massive corpus

of copyrighted content, without compensation to rightsholders, and copying it for the purpose of

training and developing its GPT models to mimic the human writing.

        62.      50. In addition to its integral role in facilitating the training process, Microsoft has

played a key role in commercializing OpenAI’s GPT-based technology, and in doing so has

profited from OpenAI’s infringement of content owned by PlaintiffPlaintiffs and the proposed

Class. At Microsoft’s largest partner event of the year, Inspire, Mr. Nadella said that while OpenAI

is “innovating on the algorithms and the training of these frontier models, [Microsoft] innovate[s]

on applications on top of it.” For example, Microsoft unveiled Bing Chat, a generative AI chatbot

feature on its search engine powered by GPT-4, and, in turn, ChatGPT integrated a “Browse with

Bing” feature on paid ChatGPT Plus offering.

        63.      51. Indeed, recent events have further demonstrated the close relationship between

OpenAI and Microsoft. When OpenAI CEO Sam Altman was terminated, Microsoft hired him. In

a November 2023 interview following the termination, Mr. Nadella stated: “We have all the IP


11
  Andreeson Horowitz, Notice of Inquiry on Artificial Intelligence and Copyright, (Oct. 30, 2023), available at
https://s3.documentcloud.org/documents/24117939/a16z.pdf.

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rights and all the capability. If OpenAI disappeared tomorrow, I don’t want any customer of ours

to be worried about it quite honestly, because we have all of the rights to continue the innovation.

Not just to serve the product, but we can go and just do what we were doing in partnership

ourselves. We have the people, we have the compute, we have the data, we have everything.” 12

Mr. Nadella continued, “And also this thing, it’s not hands off, right? We are in there. We are

below them, above them, around them. We do the kernel optimizations, we build tools, we build

the infrastructure. So that’s why I think a lot of the industrial analysts are saying, ‘Oh wow, it’s

really a joint project between Microsoft and OpenAI.’” 13

         64.     Shortly after this November 2023 interview, under pressure from Microsoft (and

others), OpenAI reinstated Mr. Altman as CEO and granted Microsoft a nonvoting seat on the

board of OpenAI, Inc.

II.      OpenAI and Microsoft Engaged in Largescale Copyright Infringement in Training
         the GPT Models

         1.      GPT Models and the Training Process

         65.     52. OpenAI’s GPT models are a species of a large language model or “LLM.” Large

language models are designed to mimic human use of language. LLMs attempt to mimic human

understanding of language by processing input text, and attempt to mimic human use of language

by generating output text. LLMs like GPT-3, GPT-3.5, and GPT-4 are often described as “neural

networks” because they are designed to operate like the neural networks that make up the human

brain.

         66.     53. OpenAI’s GPT-based models are complex mathematical functions comprised



12
   Intelligencer Staff, Satya Nadella on Hiring the Most Powerful Man in AI When OpenAI threw Sam Altman
overboard, Microsoft’s CEO saw an opportunity, INTELLIGENCER (Nov. 21, 2023), available at
https://nymag.com/intelligencer/2023/11/on-with-kara-swisher-satya-nadella-onhiring-sam-altman.html (last
accessed Dec. 11, 2023).
13
   Id.

                                                      18
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of a series of algorithms that break down input text into smaller pieces—words or portions of

words, called “tokens”—then translate those pieces into “vectors,” or a sequence of numbers that

is used to identify the token within the series of algorithms. Those vectors help place each token

on a map, by identifying other tokens closely associated with the word. According to OpenAI, “the

process begins by breaking text down into roughly word-length ‘tokens,’ which are converted to

numbers. The model then calculates each token’s proximity to other tokens in the training data—

essentially, how near one word appears in relation to any other word. These relationships between

words reveal which words have similar meanings . . . and functions.” As the model trains and

digests more expression, the algorithms depicting the relationship between various tokens changes

with it.

           67.   54. The model is trained on a massive corpus of text. The model takes text inputs

in the form of an incomplete phrase or passage, and attempts to complete the phrase, essentially a

fill-in-blank quiz. The model compares its predicted phrase completion with the actual “correct”

answer. The model then adjusts its internal algorithms to “learn” from its mistakes—in other

words, it adjusts its algorithms to reduce the likelihood of making the same mistake again and thus

minimize the delta between any given text input and the “correct” text output.

           68.   55. The model then repeats this same cycle millions, possibly billions, of times

across the entire training corpus, adjusting its algorithms each time to reflect the text input from

the training set. As OpenAI describes it, “pre-training teaches language to the model, by showing

the model a wide range of text, and, utilizing sophisticated statistical and computational analysis,

having it try to predict the word that comes next in each of a huge range of sequences” and from

this process “gain[s] fluency in predicting the next word.” In this way, the GPT model effectively

mines and feeds on the expression contained in the training set, adjusting its algorithms such that



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it can mirror and mimic the ordering of words, stylevoice, syntax, and presentation of facts,

concepts, and themes.

       69.     56. After the pre-training process, the generative model must undergo a further

post-training process. At this point, the model is capable of completing phrases and predicting the

next word or words that come next after a particular text input, but is not capable of responding to

questions or providing human-like responses. The post-training process is sometimes referred to

as “fine-tuning,” and involves more human supervision and, according to OpenAI, making

“targeted changes to the model, using relatively small (compared to pre-training) and carefully

engineered datasets that represent ideal behavior.” For both the post- and pre-training processes,

OpenAI creates multiple, unlicensed copies of the training data.

       70.     57. The quality and quantity of the training data is critical to the quality of the

resulting model. With respect to LLM development, the phrase “garbage in, garbage out” carries

particular weight. ChatGPT, for example, has shown the capability of coherently processing large

tranches of text input, and generating coherent, clearly-written passages in response—responses

that mimic an understanding not just of the proper ordering of words and syntax, but also higher-

level themes and ideas. ChatGPT could only develop this capability from training on high-quality

prose and complex, longer pieces. To this end, books serve a particularly critical role in the training

process. In a recent paper discussing the training of the GPT-2 model, for example, OpenAI

described the importance of books in its training set: “We use the BooksCorpus dataset for training

the language model. . . . Crucially, it contains long stretches of contiguous text, which allows the

generative model to learn to condition on long-range information.”

       2.      The Largescale Unlicensed Copying of Nonfiction Books to Train the GPT
               Models

       71.     58. OpenAI and Microsoft created unlicensed reproductions of copyrighted works


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owned by PlaintiffPlaintiffs and the putative class in the course of training and fine-tuning their

models.

        72.      59. A massive quantity of copyrighted works, including copyrighted nonfiction

works, were included in the “training set” that OpenAI used to develop GPT-3, GPT-3.5, and GPT-

4. The training set for GPT-3, GPT-3.5, and GPT-4 was enormous. It included 45 terabytes of

data—i.e., several billion pages of single-spaced text—and was comprised of datasets called

Common Crawl, WebText2, Books1 and Books2, and Wikipedia.

        73.      60. The Common Crawl dataset is a “copy of the Internet” made available by an

eponymous 501(c)(3) organization that was created and managed by wealthy technology investors.

WebText2 was a dataset created by OpenAI that includes text from the internet, primarily from

Reddit posts.

        74.      61. Books1 and Books2 comprised around 15 percent of the training set for GPT-

3, and was also used for training GPT-3.5, and likely GPT-4. OpenAI has described these datasets

as “internet-based books corpora”—in other words, a large mass of books that OpenAI obtained

from internet sources. In total, the Books1 and Books2 datasets are approximately 100 million

pages of single-spaced text.

        75.      62. Though OpenAI has gone to great lengths to conceal the contents of its training

datasets—especially Books2—what is known about the training data indicates that OpenAI’s GPT

models were trained on a mass of copyrighted books and other copyrighted material.

        76.      63. For one, OpenAI has publicly acknowledged that its models were trained on

“large, publicly available datasets that include copyrighted works.”1214 OpenAI has also admitted

that its training process “necessarily involves first making copies of the data to be analyzed,”


1214
    Christopher T. Zirpoli, Cong. Rsch. Serv., LSB10922, Generative Artificial Intelligence and Copyright Law 3
(2023).

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including the large volume of copyrighted works in its dataset.

       77.     64. Furthermore, a recent academic study by researchers at the University of

California at Berkeley tested whether the GPT-4 model was capable of exhibiting “memorization,”

i.e., returning exact passages, of a number of popular (and copyrighted) fiction books. If passages

of a book are memorized, then it is likely the results showed that hundreds of copyrighted books

were memorized in the models. The research confirmed that GPT-4 had memorized at least

hundreds of copyrighted books.

       78.     65. OpenAI has since re-calibrated ChatGPT to avoid divulging the details of its

training dataset and the extent of its copyright infringement.

       79.     66. In the early days after its release, however, ChatGPT, for instance, in response

to an inquiry, confirmed: “Yes, Julian Sancton’s book ‘Madhouse at the End of the Earth’ is

included in my training data.” OpenAI has acknowledged that material that was incorporated in

GPT-3 and GPT-4’s training data was copied during the training process.

       80.     67. Upon information and belief, in the course of the training process, Defendants

made hundreds of copies of copyrighted content owned by PlaintiffPlaintiffs and/or the proposed

Class. In order to calibrate thetheir GPT models to produce human-like expression, OpenAI and

Microsoft collaborated to develop a complex, bespoke supercomputing system that was made to

house and reproduce copies of the training dataset. Millions of copyrighted works were copied—

including at least tens of thousands of nonfiction books—and then ingested for the purpose of

“training” Defendants’ GPT models. Those works were used as inputs into the GPT models, then

copied severalmany times again for the purpose of gaugingto gauge how well the output mimicked

human expression—that is, mimicked the stylevoice, expression, and content of the copyrighted

works that the GPT models exploited in the calibration process.



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        81.     68. ThousandsMany thousands, maybe more, copyrighted works—including

nonfiction books—were then used for the purposes of fine-tuning the models. For fine tuning,

OpenAI and Microsoft used their supercomputing systems to generate even more unlicensed

copies, as OpenAI’s personnel copied works—including nonfiction books—to use as inputs to the

model to test the quality of the outputs, then re-calibrate the weights of the GPT model to better

mimic—and in many cases, to generate outright copies— the content, expression, and stylevoice

reflected in the training data.

        82.     69. While OpenAI was responsible for designing the calibration and fine-tuning of

the GPT models—and thus, the largescale copying of this copyrighted material involved in

generating a model programmed to accurately mimic Plaintiff’sPlaintiffs’ and others’

stylesexpression—Microsoft built and operated the computer system that enabled this unlicensed

copying in the first place.

        83.     70. Upon information and belief, Microsoft and OpenAI continue to make

largescale, unlicensed copies to calibrate and fine-tune GPT-3, GPT-3.5, and GPT-4, and

forthcoming generations of the GPT models, like GPT-5.

        84.     71. Defendants’ unauthorized commercial copying of Plaintiff’s workPlaintiffs’

works and works owned by the proposed Class was manifestly unfair use, for several reasons. For

starters, even byBy OpenAI’s own description, the use is oftelling, it uses copyrighted texts for the

same kind and purpose that an ordinary reading consumer may use a book—to review the

expression in it, that is,including the order of words, presentation of facts, and syntax, among

othersother expressive elements. OpenAI has suggested that itclaims it uses the training data to

“learn” how words and concepts fit to together, much in the way a human learns. While OpenAI’s

anthropomorphizing of its models is up for debate, at a minimum, humans who learn from books



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buy them, or borrow them from libraries that buy them, providing at least some measure of

compensation to authors and creators. OpenAI does not, and it has usurped authors’ content for

the purpose of creating a machine built to generate the very type of content for which authors

would usually be paid.

           85.      72. Even OpenAI has acknowledged that its use is unfair to creators. In his

testimony before the Senate, former OpenAI CEO and current Microsoft employee Sam Altman

admitted that “creators deserve control over how their creations are used, and what happens sort

of beyond the point of releasing it into the world” and that “creators, content owners need to benefit

from this technology.” Yet OpenAI has given creators and copyright owners zero control over how

their works are used in the training process—and zero compensation for it.

           86.      73. OpenAI and Microsoft’s appropriation of nonfiction works is especially

egregioushas inflicted substantial harm on authors. Nonfiction books often take an enormous

personal investment of time and resources. Nonfiction authors often dedicate countless hours to

poring over primary source material or interviewing witnesses. Case in point: Plaintiff Sancton

over the course of the five years he dedicated to writing Madhouse at the End of the Earth, traveled

across the world to inspect remote icescapes and uncover photographs from the Belgian Antarctic

Expedition of 1898. Plaintiff’s Sancton’s experience is hardly unique. The labor ofMany

nonfiction authors also deliversdedicate years of full-time writing, and hundreds of thousands of

dollars, to a single book. The books that contribute most to learning often take the longest to

complete. These works deliver a substantial public benefit. Books like Mr. Sancton’s provide a

digestible presentation of facts based on research and evidence; they go to the core purpose of the

Constitution’s copyright and patent clause—the “promot[ion]” of “the progress of science” 15—a



15
     U.S. Constitution, Article 1, Sectoin 8, clause 8 (emphasis added).

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term that, at the Founding, meant learning. Plaintiffs’ books are unique works that deliver to their

readers the author’s own creative expression of knowledge, through the author’s singular research,

voice, evidence, and thinking. For readers and society at large, these books teach, provoke thought,

and imagine new ways of comprehending our world and the past, present, and future. OpenAI and

Microsoft, in reproducing and trainingthese copyrighted nonfiction works without permission to

train their AI models off of these nonfiction works for free, have unfairly appropriated the fruits

of nonfiction authors’ laborprized original expression.

       87.     74. OpenAI, in taking authors’ works without compensation, has and Microsoft

have also deprived authors of books sales and licensing revenues. There is, and has been, an

established market for the sale of books and e-books, yet OpenAI ignored it and chose to

scrapecopy a massive corpus of copyrighted books right from the internet, almost certainly from

illegal sources (as legal copies of commercial books are rarely made freely available on the open

internet by the copyright owners)—without even paying for an initial copy. OpenAI has also

usurped a licensing market for copyright owners. In the short time since ChatGPT’s release, there

has been significant evidence that a licensing market is likely to be—and has been—developing

for AI training datasets. Case in point: OpenAI itself has reached deals with content creators like

the Associated Press and, on information and belief, others, in connection with the use of their

copyrighted content in AI training. Similarly, OpenAI has admitted that it “paid for” training data

from certain third parties, yet in the case of PlaintiffPlaintiffs and the proposed Class, OpenAI has

not compensated them at all.

       88.     75. There is also substantial reason to believe that, without OpenAI’sif OpenAI had

sought licenses rather than engaging in largescale copyright infringement, it could have obtained

blanket licensing practices would be possiblelicenses from major publishers and through



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clearinghouses, like the Copyright Clearance Center, which (CCC). The CCC, which already

provides some licenses for AI use, has announced its own role in helping develop legal

mechanisms for the licensed use of copyrighted material for AI training.1316 Indeed, other AI

companies have approached publishers to request such licenses. Moreover, as OpenAI and

Microsoft are aware, the Authors Guild is already actively working on creating a blanket license

for AI training on behalf of authors who wish to license their works for AI use, and has received a

significant gift to create this licensing system.

        89.      76. OpenAI, however, has chosen to use Plaintiff Sancton’sPlaintiffs’ works and

the works owned by the proposed Class free of charge, and in doing so has harmed the market for

the copyrighted works by depriving them of book sales and licensing revenue.

        3.       Defendants Reproduced Plaintiffs’ Works To Train Their GPT Models

        90.      Defendants used works authored and owned by Plaintiffs in the training of their

GPT models, and in doing so reproduced these works and commercially exploited them without

a license.

        91.      While OpenAI and Microsoft have kept the contents of their training data secret, it

is likely that, in training their GPT models, they reproduced all or nearly all commercially

successful nonfiction books. As OpenAI investor Andreesen Horowitz has admitted, “large

language models,” like Defendants’ GPT models, “are trained on something approaching the entire

corpus of the written word,” a corpus that would of course include Plaintiffs’ works.

        92.      The size of the Books2 database—the “internet based books corpora” that

Defendants used to train GPT-3, GPT-3.5, and possibly GPT-4 as well—has led commentators to

believe that Books2 is comprised of books scraped from entire pirated online libraries such as


13
  Copyright Clearance Center, The Intersection of AI & Copyright, (last visited Nov. 20, 2023),16
https://www.copyright.com/resource-library/insights/intersection-ai-copyright/solutions-rightfind-xml/.

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LibGen, ZLibrary, or Bibliotik. Shawn Presser, an independent software developer, created an

open-source set of training data called Books3, which was intended to give developers, in his

words, “OpenAI-grade training data.” The Books3 dataset, similar in size to Books2, was built

from a corpus of pirated copies of books available on the site Bibliotik. Works authored and owned

by Plaintiffs Alter, Bird, Branch, Cohen, Linden, Okrent, Sancton, Sides, Schiff, Shapiro,

Tolentino, and Winchester are available on Books3, an indication that these works were also likely

included in the similarly sized Books2.

         93.   Plaintiff Alter is the author and owner of the registered copyrights listed under his

name in Exhibit A. His books The Center Holds: Obama and His Enemies; The Promise: President

Obama, Year One; and The Defining Moment: FDR’s Hundred Days and the Triumph of Hope are

a part of the Books3 dataset. Pirated copies of each of those three books—as well as most recent

book His Very Best: Jimmy Carter, A Life—are available on the internet through websites like

LibGen, ZLibrary, and/or Bibliotik, which likely sourced OpenAI’s Books2 dataset. When

prompted with questions about Plaintiff Alter’s books, ChatGPT returned detailed, accurate

summaries of them, including of The Center Holds and The Promise. Upon information and belief,

ChatGPT is able to return such detailed information only because it was trained on Plaintiff Alter’s

books.

         94.   Plaintiff Bird is the author and owner of the registered copyrights listed under his

name in Exhibit A. His books American Prometheus, The Good Spy, and The Color of Truth are a

part of the Books3 dataset. Pirated copies of each of all of his books are available on the internet

through websites like LibGen, ZLibrary, and/or Bibliotik, which likely sourced OpenAI’s Books2

dataset. When prompted with questions about Plaintiff Bird’s books, ChatGPT returned detailed,

accurate summaries of them, including of The Good Spy. Upon information and belief, ChatGPT



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is able to return such detailed information only because it was trained on Plaintiff Bird’s books.

       95.     Plaintiff Branch is the author and owner of the registered copyrights listed under

his name in Exhibit A. Five of his books, including Parting the Waters and The Clinton Tapes, are

a part of the Books3 dataset. Pirated copies of each of nearly all of his books are available on the

internet through websites like LibGen, ZLibrary, and/or Bibliotik, which likely sourced OpenAI’s

Books2 dataset. When prompted with questions about Plaintiff Branch’s books, ChatGPT returned

detailed, accurate summaries of them, including of Parting the Waters. Upon information and

belief, ChatGPT is able to return such detailed information only because it was trained on Plaintiff

Branch’s books.

       96.     Plaintiff Cohen is the author and owner of the registered copyrights listed under his

name in Exhibit A. Six of his books, including Tough Jews and The Chicago Cubs, are a part of

the Books3 dataset. Pirated copies of each of nearly all of his books are available on the internet

through websites like LibGen, ZLibrary, and/or Bibliotik, which likely sourced OpenAI’s Books2

dataset. When prompted with questions about Plaintiff Cohen’s books, ChatGPT returned detailed,

accurate summaries of them, including of The Chicago Cubs. Upon information and belief,

ChatGPT is able to return such detailed information only because it was trained on Plaintiff

Cohen’s books.

       97.     Plaintiff Linden is the author and owner of the registered copyrights listed under

his name in Exhibit A. Two of his books, The Parrot’s Lament and The Ragged Edge of the World,

are a part of the Books3 dataset. Pirated copies of a number of his books are available on the

internet through websites like LibGen, ZLibrary, and/or Bibliotik, which likely sourced OpenAI’s

Books2 dataset. When prompted with questions about Plaintiff Linden’s books, ChatGPT returned

detailed, accurate summaries of them, including of The Parrot’s Lament. Upon information and



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belief, ChatGPT is able to return such detailed information only because it was trained on Plaintiff

Linden’s books.

       98.     Plaintiff Okrent is the author and owner of the registered copyrights listed under

his name in Exhibit A. At least three of his books, including Last Call and The Guarded Gate, are

a part of the Books3 dataset. Pirated copies of a number of his books are available on the internet

through websites like LibGen, ZLibrary, and/or Bibliotik, which likely sourced OpenAI’s Books2

dataset. When prompted with questions about Plaintiff Okrent’s books, ChatGPT returned

detailed, accurate summaries of them, including of Last Call. Upon information and belief,

ChatGPT is able to return such detailed information only because it was trained on Plaintiff

Okrent’s books.

       99.     Plaintiff Sancton is the author and owner of the registered copyrights listed under

his name in Exhibit A. Pirated copies of his book Madhouse at the End of the Earth are available

on the internet through websites like LibGen, ZLibrary, and/or Bibliotik, which likely sourced

OpenAI’s Books2 dataset. When prompted with questions about Plaintiff Sancton’s book,

ChatGPT confirmed that Madhouse at the End of the Earth was part of its training dataset.

       100.    Plaintiff Sides is the author and owner of the registered copyrights listed under his

name in Exhibit A. Six of his books, including Ghost Soldiers and Blood and Thunder, are a part

of the Books3 dataset. Pirated copies of all of his books are available on the internet through

websites like LibGen, ZLibrary, and/or Bibliotik, which likely sourced OpenAI’s Books2 dataset.

When prompted with questions about Plaintiff Sides’s books, ChatGPT returned detailed, accurate

summaries of them, including of Blood and Thunder. Upon information and belief, ChatGPT is

able to return such detailed information only because it was trained on Plaintiff Sides’s books.

       101.    Plaintiff Schiff is the author and owner of the registered copyrights listed under her



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name in Exhibit A. At least five of her books, including The Witches and Cleopatra, are a part of

the Books3 dataset. Pirated copies of all of her books are available on the internet through websites

like LibGen, ZLibrary, and/or Bibliotik, which likely sourced OpenAI’s Books2 dataset. When

prompted with questions about Plaintiff Schiff’s books, ChatGPT returned detailed, accurate

summaries of them, including of The Witches and Cleopatra. Upon information and belief,

ChatGPT is able to return such detailed information only because it was trained on Plaintiff

Schiff’s books.

       102.    Plaintiff Shapiro is the author and owner of the registered copyrights listed under

his name in Exhibit A. At least four of his books, including The Year of Lear and Contested Will,

are a part of the Books3 dataset. Pirated copies of nearly all of his books are available on the

internet through websites like LibGen, ZLibrary, and/or Bibliotik, which likely sourced OpenAI’s

Books2 dataset. When prompted with questions about Plaintiff Shapiro’s books, ChatGPT

returned detailed, accurate summaries of them, including of Contested Will. Upon information and

belief, ChatGPT is able to return such detailed information only because it was trained on Plaintiff

Shapiro’s books.

       103.    Plaintiff Tolentino is the author and owner of the registered copyright listed under

her name in Exhibit A. Her book Trick Mirror part of the Books3 dataset. Pirated copies of it are

widely available on the internet through websites like LibGen, ZLibrary, and/or Bibliotik, which

likely sourced OpenAI’s Books2 dataset. When prompted with questions about Trick Mirror,

ChatGPT returned detailed, accurate summaries of the book and its chapters. Upon information

and belief, ChatGPT is able to return such detailed information only because it was trained on

Plaintiff Tolentino’s book.

       104.    Plaintiff Winchester is the author and owner of the registered copyrights listed



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under his name in Exhibit A. At least eleven of his books, including The Professor and the

Madman and Krakatoa, are a part of the Books3 dataset. Pirated copies of nearly all of his books

are available on the internet through websites like LibGen, ZLibrary, and/or Bibliotik, which likely

sourced OpenAI’s Books2 dataset. When prompted with questions about Plaintiff Winchester’s

books, ChatGPT returned detailed, accurate summaries of them, including of The Professor and

the Madman. Upon information and belief, ChatGPT is able to return such detailed information

only because it was trained on Plaintiff Winchester’s books.

III.    Defendants Have Profited From Their Unlicensed Exploitation of Copyrighted
        Material At the Expense of Authors

        105.    77. Microsoft and OpenAI have enjoyed substantial commercial gain from their

GPT-based commercial offerings, including ChatGPT Plus, ChatGPT Enterprise, Bing Chat, and

the licensing of the OpenAI API for businesses seeking to develop their own generative AI systems

built on top of GPT-3, GPT-3.5, or GPT-4.

        106.    78. As of November 2023, ChatGPT has reported over 100 million weekly active

users. Included among those users are 92% of all Fortune 500 companies.1417 OpenAI has

generated revenue through its subscription services, ChatGPT Plus ($20/month) and its business-

focused ChatGPT Enterprise. OpenAI is currently generating revenue of more than $100 million

per month, on pace for $1.3 billion per year.

        107.    79. Microsoft has also reaped the benefits from its investment and development of

ChatGPT. Since incorporating GPT-3 into its Bing search engine, Bing surpassed more than 100

million daily active users for the first time in its history. That surge was in large part attributable

to the incorporation of OpenAI’s GPT models, as large percentage of Bing’s new users are using



1417
    Aisha Malik, OpenAI’s ChatGPT Now Has 100 Million Weekly Active Users, (last visited Nov. 20, 20230,
https://techcrunch.com/2023/11/06/openais-chatgpt-now-has-100-million-weekly-active-users/.

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Bing Chat daily.

         108.     80. Microsoft has also been integrating ChatGPT into Azure and Office 365

products, and charging add-on fees for users seeking to take advantage of generative AI offerings.

Microsoft Teams is charging an additional license for use of AI features. Microsoft has also

unveiled a GPT-4-powered product called Microsoft 365 Copilot, which, according to Microsoft,

“combines the power of large language models (LLMs) with your data in the Microsoft Graph and

the Microsoft 365 apps to turn your words into the most powerful productivity tool on the planet.”

Microsoft Copilot is $30 per month. Analysts project that the integration of GPT into Microsoft

products could generate more than $10 billion in annualized revenue by 2026, 1518 with just one

version of this integration—“GitHub Copilot”—already generating more than $100 million in

annual recurring revenue.1619

                                               CLASS ALLEGATIONS

         109.     81. This action is brought by PlaintiffPlaintiffs individually and on behalf of a class

pursuant to Rule 23(b)(3) 23(b)(1) of the Federal Rules of Civil Procedure. The Class consists of:

                  All owners of copyrighted literary works that: (a) are registered with the United

                  States Copyright Office; (b) were or are used by Defendants in training their

                  generative artificial intelligence models, including but not limited to GPT-3, GPT-

                  3.5, GPT-4, and GPT-5; and (c) are works of nonfiction and either are or have been

                  assigned an International Standard Book Number (ISBN) or are published in an

                  academic journaland fall within a Book Industry Standards and Communications

                  (BISAC) code other than Reference (REF). 20. The Class excludes Defendants, their



1518
    Novet, supra Note 3, (last visited Nov. 20, 2023).
1619
    Holmes, supra Note 4, (last visited Nov. 20, 2023).
20
   See http://www.bisg.org/complete-bisac-subject-headings-list (last visited Dec. 19, 2023)

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               officers and directors, members of their immediate families, and the heirs,

               successors or assigns of any of the foregoing.

       110.    82. The Class consists of at least tens of thousands of authors and copyright holders

and thus is so numerous that joinder of all members is impractical. The identities of members of

the Class can be readily ascertained from business records maintained by Defendants.

       111.    83. The claims asserted by PlaintiffPlaintiffs are typical of the claims of the Class,

all of whose works were also copied as part of the GPT training process.

       112.    84. The PlaintiffPlaintiffs will fairly and adequately protect the interests of the

Class and doesdo not have any interests antagonistic to those of other members of the Class.

       113.    85. The Plaintiff hasPlaintiffs have retained attorneys who are knowledgeable and

experienced in copyright and class action matters, as well as complex litigation.

       114.    86. Plaintiff requestsPlaintiffs request that the Court afford Class members notice

and the right to opt-out of any Class certified in this action.

       115.    87. This action is appropriate as a class action pursuant to Rule 23(b)(3) of the

Federal Rules of Civil Procedure because common questions of law and fact affecting the Class

predominate over those questions affecting only individual members. Those common questions

include:

           a. Whether Defendants’ reproduction of the Class’s copyrighted work constituted

               copyright infringement;

           b. Whether Defendants’ reproduction of the Class’s copyrighted work in the course

               of training their generative AI models was fair use;

           c. Whether Defendants’ reproduction of the Class’s copyrighted work harmed Class

               membermembers and whether Class membermembers is entitled to damages,



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                including statutory damages and the amount of statutory damages;

           d. Whether Defendant Microsoft substantially facilitated the copyright infringement

                committed by OpenAI; and

           e. Whether Defendants Microsoft knew or should have known that OpenAI was

                making copies of copyrighted content, including the Class’s copyrighted works, in

                the course of training their AI models.

       116.     88. This action is also appropriate as a class action pursuant to Rule 23(b)(1) of the

Federal Rules of Civil Procedure because prosecution of separate actions by individual class

members risks inconsistent adjudication and because the resolution of claims for individual class

members may be dispositive of the actions of other class members.

       117.     This action is also appropriate as a class action pursuant to Rule 23(b)(2) of the

Federal Rules of Civil Procedure because Defendants infringing conduct is applicable generally to

Plaintiffs and the proposed Class and the requested injunctive relief is appropriate respecting the

proposed Class as a whole.

                         COUNT I: Copyright Infringement (17 U.S.C. § 501)

                                 Against OpenAI and Microsoft

       118.     89. Plaintiff incorporatesPlaintiffs incorporate by reference the allegations in

Paragraphs 1 to 88118 as though fully set forth herein.

       119.     90. Plaintiffs and members of the proposed Class own the registered copyrights in

the works that Defendants reproduced and appropriated to train their artificial intelligence models.

       120.     91. PlaintiffPlaintiffs and members of the proposed Class therefore hold the

exclusive rights, including the rights of reproduction and distribution, to those works under 17

U.S.C. § 106.

       121.     92. Defendants infringed on the exclusive rights, under 17 U.S.C. § 106, of

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PlaintiffPlaintiffs and members of the proposed Class by, among other things, reproducing the

works owed by PlaintiffPlaintiffs and the proposed Class in datasets used to train their artificial

intelligence models.

       122.     93. On information and belief, Defendants’ infringing conduct alleged herein was

and continues to be willful. Defendants infringed on the exclusive rights of PlaintiffPlaintiffs and

members of the proposed Class knowing that they were profiting from mass copyright

infringement.

       123.     94. PlaintiffPlaintiffs and members of the proposed Class are entitled to statutory

damages, actual damages, disgorgement, and other remedies available under the Copyright Act.

       124.     95. PlaintiffPlaintiffs and members of the proposed Class have been and continue

to be irreparably injured due to Defendants’ conduct, for which there is no adequate remedy at

law. Defendants will continue to infringe on the exclusive right of PlaintiffPlaintiffs and the

proposed class unless their infringing activity is enjoined by this Court. Plaintiffs are therefore

entitled to permanent injunctive relief barring Defendants’ ongoing infringement.

                            COUNT II: Contributory Infringement

 Against Microsoft, OpenAI, Inc., OpenAI GP LLC, OpenAI Global LLC, OpenAI LLC,
                  OAI Corporation LLC, and OpenAI Holdings LLC

       125.     96. Plaintiff incorporatesPlaintiffs incorporate by reference and realleges the

allegations in Paragraphs 1 to 94124 as though fully set forth herein.

       126.     97. Microsoft materially contributed and facilitated OpenAI’s direct infringement

alleged in Count I by providing billions of dollars in investments and designing, creating, and

maintaining the bespoke supercomputing system that OpenAI used to maintain and copy the

copyrighted works owned by PlaintiffPlaintiffs and the proposed Class. This assistance was

necessary for OpenAI to perpetrate the largescale copyright infringement alleged herein.


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         127.   98. Microsoft knew, or had reason to know, of the direct infringement alleged in

Count I because OpenAI, upon information and belief, informed Microsoft as part of the due

diligence process that it was copying and scraping copyrighted material in order to train its

generative artificial intelligence models. Furthermore, in the course of designing and maintain its

bespoke supercomputing system, Microsoft became aware of OpenAI’s direct infringement and

directly assisted the copying of copyrighted content owned by PlaintiffPlaintiffs and the proposed

Class.

         128.   99. Microsoft profited from its OpenAI’s direct infringement through its investment

in OpenAI and its monetization of GPT-based products.

         129.   100. Microsoft is liable for contributing to the direct infringement alleged in Count

I.

         101. Microsoft is liable for contributing to the direct infringement alleged in Count I.

         130.   102. OpenAI, Inc., OpenAI GP LLC, OpenAI Global LLC, OpenAI LLC, OAI

Corporation LLC, and OpenAI Holdings LLC, each directly and indirectly control, direct, and

manage other OpenAI entities, including OpenAI OpCo LLC, that are and were responsible for

the direct infringement alleged in Count I. These OpenAI entities, through their direction and

control of other OpenAI entities, were aware of the direct infringement perpetrated by a variety of

OpenAI entities, as alleged in Count I. These OpenAI entities profited from the infringement

perpetrated by OpenAI as a whole through their ownership of other OpenAI entities.

         131.   103. OpenAI, Inc., OpenAI GP LLC, OpenAI Global LLC, OpenAI LLC, OAI

Corporation LLC, and OpenAI Holdings LLC, are each liable for contributing to the direct

infringement alleged in Count I

                                         PRAYER FOR RELIEF

         WHEREFORE, Plaintiff demands judgment against each Defendant as follows:

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               1.      Declaring this action can be properly maintained pursuant to Rule 23 of the

Federal Rules of Civil Procedure;

               2.      Awarding PlaintiffPlaintiffs and the proposed Class statutory damages,

compensatory damages, restitution, disgorgement, and any other relief that may be permitted by

law or equity pursuant to the first and second claims for relief;

               3.      Permanently enjoining Defendants from the infringement and contributory

infringement alleged herein;

               4.      Awarding PlaintiffPlaintiffs and the proposed Class pre-judgment and post-

judgment interest pursuant to the first and second claims for relief;

               5.      Awarding PlaintiffPlaintiffs and the proposed Class costs, expenses, and

attorneys’ fees as permitted by law; and

               6.      Awarding PlaintiffPlaintiffs and the proposed Class further relief as the

Court may deem just and proper under the circumstances.

                                     DEMAND FOR JURY TRIAL

       Pursuant to Rule 38 of the Federal Rules of Civil Procedure, PlaintiffPlaintiffs hereby

demandsdemand a jury trial for all claims so triable.

Dated: December 19, 2023

                                              /s/ J. Craig SmyserJustin Nelson

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                             Class




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                                CERTIFICATE OF SERVICE

       I hereby certify this 19th day of December 2023, I caused a true and correct copy of the

foregoing to be electronically filed with the Clerk of the court using the CM/ECF system which

will send notification to the attorneys of record and is available for viewing and downloading.


                                                     /s/ J. Craig Smyser
                                                       J. Craig Smyser




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                              Summary report:
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                           12/19/2023 6:21:12 PM
Style name: Default Style
Intelligent Table Comparison: Active
Original filename: 23-11-21 Sancton v. OpenAI Class
Complaint_toFile_clean.docx
Modified filename: 2023-12-19 FAC Nonfiction Class 0142pm Post
Proofread_RS edits (002).docx
Changes:
Add                                                      315
Delete                                                   228
Move From                                                0
Move To                                                  0
Table Insert                                             0
Table Delete                                             0
Table moves to                                           0
Table moves from                                         0
Embedded Graphics (Visio, ChemDraw, Images etc.)         0
Embedded Excel                                           0
Format changes                                           0
Total Changes:                                           543
